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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                          §
                                                  §
versus                                            §    CASE NO. 1:14-CR-65(3)
                                                  §
SCHON RANDELL RUSCH, JR.                          §

       MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for the

administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his findings

of fact and recommendation on the defendant’s guilty plea (#51).             The magistrate judge

recommended that the Court accept defendant’s guilty plea and the plea agreement. He further

recommended that the Court finally adjudge defendant as guilty on Count One of the Indictment.

         The parties have not objected to the magistrate judge’s findings. The Court accepts the

findings in the report and recommendation. The Court ORDERS that Judge Giblin’s report (#51)

is adopted. The Court further ORDERS that the defendant’s guilty plea and the plea agreement are

accepted at this time. It is finally ORDERED that defendant, Schon Randell Rusch, Jr., is adjudged

guilty on Count One of the Indictment charging violations of Title 21, United States Code, Section

846.      .
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 30th day of December, 2014.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
